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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SANDY JOHNSON,                       :
                                     :
      Plaintiff,                     :
                                     : CIVIL ACTION FILE
v.                                   :
                                     : NO. 1:10-CV-01217-TCB-JFK
FOCUS RECEIVABLES                    :
MANAGEMENT, LLC,                     :
a Georgia limited liability company, :
                                     :
      Defendant.                     :
                                     :

             STIPULATION OF DISMISSAL WITH PREJUDICE

      COMES NOW PLAINTIFF, pursuant to Rule 41(a)(1) of the Federal Rules

of Civil Procedure, and before the service of an answer or a motion for summary

judgment, and stipulates that this action shall be dismissed with prejudice to all

claims.

                   Respectfully submitted,


                                 by:    / s/ James M. Feagle
                                       James M. Feagle
                                       Georgia Bar No. 256916
                                       Kris Skaar
                                       Georgia Bar No. 649610

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                           Justin T. Holcombe
                           Georgia Bar No. 552100

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